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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION
___________________________________
                                     :
Gail Dwyer,                          :
                                     :  Case No.
            Plaintiff,               :
                                     :
      v.                             :
                                     :
GC Services, LP,                     :
                                     :
            Defendant.               :
___________________________________  :

                                          COMPLAINT

        Plaintiff, Gail Dwyer (“Plaintiff”), through her attorneys, Shaevel & Krems, LLP, alleges

the following against Defendant, GC Services, LP (“Defendant”):

                                       INTRODUCTION

        1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. 1692, et seq.

                                JURISDICTION AND VENUE

        2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

        3.      Defendant conducts business in the State of Massachusetts establishing personal

jurisdiction.

        4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                            PARTIES

        5.      Plaintiff is a natural person residing in Marshfield, Plymouth County,
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Massachusetts.

        6.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

1692a(5).

        7.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and

sought to collect a consumer debt from Plaintiff.

        8.      Defendant is a business entity with an office located at 6330 Gulfton St.,

Houston, Texas 77081.

        9.      Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                    FACTUAL ALLEGATIONS

        10.     In or around September 2012, Defendant began contacting Plaintiff in an attempt

to collect a debt.

        11.     Upon information and belief, Defendant is attempting to collect a credit card debt

that arises from transactions for personal, family, and household purposes.

        12.     In its collection activity, Defendant places telephone calls to Plaintiff at her place

of residence, (781) 536-81xx, and on her cellular telephone, (516) 661-46xx.

        13.     When Plaintiff is unable to answer Defendant’s collection calls, Defendant leaves

voicemail messages.

        14.     In or around December 2012, Defendant called Plaintiff at her residence and left

a voicemail message on her answering machine. See transcribed voicemail as Exhibit A hereto.

        15.     Plaintiff’s outgoing message on her answering machine advises callers that they

have reach the Dwyers and instructs them to leave a message for a return phone call.
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        16.      Defendant’s message addresses Plaintiff and asks her to “please return my phone

call” to (847) 622-2945, a telephone number assigned to Defendant. See Exhibit A.

        17.      However, Defendant’s message did not identify its business name for Plaintiff.

See Exhibit A.

        18.      Defendant’s message also failed to disclose to Plaintiff that it is a debt collector.

See Exhibit A.

        19.      Defendant’s message does not provide Plaintiff with any information to ascertain

that the nature or purpose of its call is about a debt. See Exhibit A.

        20.      Defendant’s message is deceptive and misleading by not identifying itself or that

it is a debt collector.

                                              COUNT I

    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        21.      Defendant violated the FDCPA based on the following:

                 a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                     consequence of which is to harass and annoy Plaintiff.

                 b. Defendant violated §1692d(6) of the FDCPA by leaving a message(s) that

                     does not meaningfully disclose Defendant’s identity.

                 c. Defendant violated §1692e(10) of the FDCPA by using deceptive means in

                     an attempt to collect a debt.

                 d. Defendant violated §1692e(11) of the FDCPA by failing to disclose in

                     subsequent communications that the communication was from a debt

                     collector.


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       Wherefore, Plaintiff, Gail Dwyer, respectfully requests judgment be entered against

Defendant, GC Services, LP for the following:

       22.    Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. 1692k.

       23.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. 1692k.

       24.    Any other relief that this Honorable Court deems appropriate.

Dated: January 28, 2013                             RESPECTFULLY SUBMITTED,



                                    By: /s/ David R. Jackowitz
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